           Case 1:08-cr-00297-LJO Document 61 Filed 04/04/12 Page 1 of 5


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   DAWRENCE W. RICE, Jr.
     Assistant U.S. Attorney
 3   2500 Tulare Street, Suite 4401
     Fresno, California 93721
 4   Telephone: (559) 497-4000
 5
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   In Re Taurus 9mm Handgun, Serial       )   CASE NO. 1:08-cr-00297 LJO
     Number THH36496, and Jennings          )
12   .22 Caliber Handgun, Serial            )   APPLICATION AND ORDER TO
     Number 442486.                         )   DESTROY FIREARMS
13                                          )
                                            )
14                                          )
                                            )
15                                          )
                                            )
16                                          )
17
18        The government hereby applies for an order pursuant to the All
19   Writs Act, 28 U.S.C. § 1651, to destroy two firearms, a Taurus 9mm
20   Handgun, Serial Number THH36496, and a Jennings .22 Caliber Handgun,
21   Serial Number 442486, that were seized as evidence by the Drug
22   Enforcement Administration during the investigation and prosecution
23   of DIANA HERNANDEZ TERAN, FERNANDO ESPANA RUBIO, and JUSTO MATA
24   BUSTOS in case number 1:08-cr-00297 LJO, and which cannot legally be
25   returned to them, because they are now convicted felons.
26                                     FACTS
27        On August 7, 2008, in the Eastern District of California, DIANA
28   HERNANDEZ TERAN, FERNANDO ESPANA RUBIO, and JUSTO MATA BUSTOS

                                            1
            Case 1:08-cr-00297-LJO Document 61 Filed 04/04/12 Page 2 of 5


 1   kidnaped AY in order to rob his jewelry store.
 2         While planning the robbery, BUSTOS asked TERAN to charm AY in
 3   order to set up the robbery.       TERAN agreed.     TERAN approached AY at
 4   his jewelry store.     TERAN and AY exchanged phone numbers and agreed
 5   to meet at a later date.      The next week TERAN and AY had telephone
 6   conversations, and TERAN told BUSTOS, “He’s hooked.”
 7         On the day of the planned robbery, AY took TERAN to a motel in
 8   Manteca.   TERAN stepped out of the motel room and called a telephone
 9   number.    BUSTOS and RUBIO then walked into the motel room through the
10   open door, pointed handguns at AY, and told AY to sit down and shut
11   up.
12         AY told TERAN, BUSTOS and RUBIO to take whatever they wanted.
13   BUSTOS took AY’s watch, bracelet and chain, and said they wanted to
14   rob AY’s jewelry store.      TERAN walked to AY’s BMW parked at the
15   motel, got into the driver’s seat, and waited for BUSTOS and RUBIO to
16   bring AY to the car.     RUBIO, BUSTOS, and AY came out of the motel
17   room and got into AY’s BMW.
18         After leaving the motel, TERAN came to a stop at an intersection
19   and AY jumped out of the BMW.       Fortunately, a Manteca Police Officer
20   was at the intersection in his patrol car, saw AY jump out of the
21   BMW, and chased the BMW.
22         TERAN led pursuing Manteca Police Officers on a high speed chase
23   through residential areas and collided with an occupied vehicle.
24   During the chase, RUBIO and BUSTOS tossed the handguns from the BMW
25   that they had used during the kidnaping of AY, to wit: the Taurus 9mm
26   Handgun, Serial Number THH36496, and the Jennings .22 Caliber
27   Handgun, Serial Number 442486.       TERAN eventually turned down a dead
28   end street, and TERAN, RUBIO and BUSTOS were arrested by Manteca

                                             2
           Case 1:08-cr-00297-LJO Document 61 Filed 04/04/12 Page 3 of 5


 1   Police Officers.
 2        Both firearms were seized by the Manteca Police Department and
 3   turned over to the Drug Enforcement Administration as evidence.
 4   Lawful ownership of the firearms cannot be determined, because there
 5   are no records pertaining to either of the firearms in the Automated
 6   Firearms System.
 7        In July of 2009, DIANA HERNANDEZ TERAN, FERNANDO ESPANA RUBIO,
 8   and JUSTO MATA BUSTOS pled guilty to Kidnaping, in violation of 18
 9   U.S.C. § 1201(a)(1).    FERNANDO ESPANA RUBIO and JUSTO MATA BUSTOS
10   also pled guilty to Brandishing a Firearm During a Crime of Violence,
11   in violation of 18 U.S.C. § 924(c)(1)(A).        DIANA HERNANDEZ TERAN was
12   subsequently sentenced to 121 months imprisonment on October 2, 2009,
13   and FERNANDO ESPANA RUBIO and JUSTO MATA BUSTOS were sentenced to 171
14   months imprisonment on October 8, 2009.
15                                     LAW
16        The government is prohibited by law from returning firearms to
17   an owner who has been convicted of a felony.         See 18 U.S.C. §§
18   922(g).   The federal courts have held that under 18 U.S.C. § 922(g) a
19   convicted felon who is prohibited from possessing firearms has no
20   right to their return, and may not designate another person to
21   receive them because that would be a prohibited exercise of
22   constructive possession.     United States v. Felici, 208 F.3d 667, 669-
23   70 (8th Cir. 2000); United States v. Howell, 425 F.3d 971, 975-77
24   (11th Cir. 2005); United States v. Harvey, 78 Fed. Appx. 13, 14-15,
25   2003 WL 21949151 (9th Cir. 2003).
26        The All Writs Act, 28 U.S.C. § 1651, authorizes federal courts
27   to “issue all writs necessary or appropriate in aid of their
28   respective jurisdictions and agreeable to the usages and principles

                                             3
            Case 1:08-cr-00297-LJO Document 61 Filed 04/04/12 Page 4 of 5


 1   of law.”   As the Supreme Court has explained, “the All Writs Act is a
 2   residual source of authority to issue writs that are not otherwise
 3   covered by statute.”     Pennsylvania Bureau of Correction v. United
 4   States Marshals Service, 474 U.S. 34, 43 (1985).          The All Writs Act
 5   can be used by the government to obtain court authorization to
 6   destroy firearms seized in the course of a criminal investigation.
 7   See e.g., United States v. Smith, 142 Fed. Appx. 100, 2005 WL 1799364
 8   (3rd Cir. 2005) (Affirming district court’s order granting
 9   government’s motion under the All Writs Act to destroy firearms and
10   ammunition, and holding that Smith, a convicted felon, could neither
11   possess firearms nor direct that they be transferred to his wife.)
12                                CONCLUSION
13         Due to the felony convictions of DIANA HERNANDEZ TERAN, FERNANDO
14   ESPANA RUBIO, and JUSTO MATA BUSTOS, they are now prohibited by law
15   from owning, possessing or transferring firearms under 18 U.S.C. §
16   922(g).    Since the subject firearms are no longer needed as evidence
17   and ownership of the firearms in a person other than DIANA HERNANDEZ
18   TERAN, FERNANDO ESPANA RUBIO, and JUSTO MATA BUSTOS cannot be
19   determined, the government requests a Court Order authorizing the
20   Drug Enforcement Administration to destroy the Taurus 9mm Handgun,
21   Serial Number THH36496, and Jennings .22 Caliber Handgun, Serial
22   Number 442486, pursuant to the All Writs Act.
23                                      Respectfully submitted,
24                                      BENJAMIN B. WAGNER
                                        United States Attorney
25
26   Date: April 2, 2012                By:/s/ Dawrence W. Rice, Jr.
                                           DAWRENCE W. RICE, JR.
27                                         Assistant U.S. Attorney
28   ///

                                             4
               Case 1:08-cr-00297-LJO Document 61 Filed 04/04/12 Page 5 of 5


 1                                         ORDER
 2            Pursuant to the All Writs Act, the Taurus 9mm Handgun, Serial
 3   Number THH36496, and Jennings .22 Caliber Handgun, Serial Number
 4   442486, seized during the course of the investigation and prosecution
 5   of DIANA HERNANDEZ TERAN, FERNANDO ESPANA RUBIO, and JUSTO MATA
 6   BUSTOS in 1:08-cr-00297 LJO, are to be destroyed by the Drug
 7   Enforcement Administration.
 8
 9    IT IS SO ORDERED.
10   Dated:     April 3, 2012                 /s/ Lawrence J. O'Neill
     b9ed48                               UNITED STATES DISTRICT JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                5
